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  Debtor and all parties of interest in this matter. To date, no objections or responses have been filed with the

  Court as to the Trustee’s Application, nor have any objections or responses been served upon the Trustee

  or his counsel


          The Court, having jurisdiction herein, finds as follows:


          1.   The Applicant is the duly qualified and acting Chapter 7 Trustee of the bankruptcy estate of

               Virginia Spencer


          2. Todd Clouser, a member of ReMax Realty Source, has the expertise and knowledge to assist the

               Chapter 7 Trustee with the marketing and sale of real property located at 627 KELLER ST

               BOLIVAR, TN 38008, and which is legally described as follows:


                   Parcel Number: 035070I G 00400

                   Census Tract: 470699503.001071

                   Carrier Route: C001

                   Abbreviated Description: DIST:01 JACKSON KELLER H 3PT2 MAP REF:070I



               hereinafter referred to as the “Real Property”.


          3. The Debtors have not declared the Real Property as exempt.


          4. The Chapter 7 Trustee desires to employ Todd Clouser, a member of ReMax Realty Source

               (jointly referred to hereafter as “Local Listing Broker”), to provide professional services on

               behalf of this bankruptcy estate for the marketing and sale of the Real Property identified

               hereinabove, in which the above-named Debtor holds an interest. The Local Listing Broker is

               requesting a commission of two percent (2%) of the gross sale proceeds. All fees and expenses

               will be presented to the Court for approval prior to payment. The buyer’s agent, if one is

               involved in the sale, will be paid 2% of the gross sale proceeds.
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          5. A duly executed and verified statement of disinterestedness was attached to the Application as

              Exhibit “A” setting out that the employees and members of ReMax Realty Source are

              disinterested persons, as the term is used in the Bankruptcy Code, do not hold an interest adverse

              to the bankruptcy estate, is not aware of any connection with the Debtor, creditors, any other

              party in interest, their respective attorneys or accountants, the United States Trustee or any

              person employed in the Office of the United States Trustee and understand there is a continuing

              duty to disclose any such adverse interest.


          6. Notice of the request and approval of the employment of this professional was provided and

              served upon all parties of interest in this matter.


          7. Also attached to the Trustee’s Application as Exhibit “B” was a copy of the Listing Agreement

              and the Chapter 7 Trustee requested that the Court approve this Agreement, which the Chapter

              7 Trustee has executed on behalf of this bankruptcy estate.


          8. BK Global Real Estate Services (“BK Global”) has been retained by the Chapter 7 Trustee and

              BK Global has agreed to fully cooperate with Local Listing Broker.


          9. Mr. Cooper claims a mortgage interest in the Real Property and has consented to the sale of the

              Real Property subject to their security interest.


          The Court, having reviewed the file herein and being fully advised, finds that good cause exists to

  grant the Trustee’s Application and for the entry of this Order.


          IT IS, THEREFORE, BY THE COURT ORDERED that the Notice as to the Application to Employ

  Todd Clouser, a member of ReMax Realty Source, as served by the trustee upon all parties of interest in this

  matter was due, proper and sufficient, and no further or additional notice is necessary or required.
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           IT IS BY THE COURT FURTHER ORDERED that the Chapter 7 Trustee’s Application is hereby

  GRANTED and the Chapter 7 Trustee is hereby AUTHORIZED to employ the professional services of Todd

  Clouser, a member of ReMax Realty Source, in this bankruptcy estate, for the listing and sale of the Real

  Property.


           IT IS BY THE COURT FURTHER ORDERED that the Listing Agreement with Todd Clouser, a

  member of ReMax Realty Source, for the sale of the subject Real Property is hereby APPROVED.


           IT IS SO ORDERED.


  APPROVED FOR ENTRY:



  /s/ Michael T. Tabor

  MICHAEL T. TABOR, #4736

  ATTORNEY FOR DEBTOR

  P.O. BOX 2877

  JACKSON, TN 38302-2877

  (731)424-3074



  Service List:

  Debtor

  Attorney for Debtor

  Chapter 7 Trustee

  U.S. Trustee

  All Entities on Matrix
          Case 18-12246            Doc 35       Filed 03/16/19 Entered 03/17/19 00:41:51                         Desc Imaged
                                                Certificate of Notice Page 5 of 6
                                               United States Bankruptcy Court
                                               Western District of Tennessee
In re:                                                                                                     Case No. 18-12246-jlc
Virginia I. Spencer                                                                                        Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0651-1                  User: valeta                       Page 1 of 2                          Date Rcvd: Mar 14, 2019
                                      Form ID: pdford02                  Total Noticed: 27


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 16, 2019.
db             +Virginia I. Spencer,    627 Keller St.,   Bolivar, TN 38008-1952
cr             +Heights Finance,    111 Whitley Ave.,   Henderson, TN 38340-2221
cr             +Nissan Motor Acceptance Corporation,    c/o Stewart, Zlimen & Jungers, Ltd.,     2860 Patton Road,
                 Roseville, MN 55113-1100
32982998       +Alder,    Attn. Bankruptcy,   450 North 1500 West,    Orem, UT 84057-2829
33045143       +BKGlobal,    1095 Broken Sound Pkwy.,   Boca Raton, FL 33487-3501
33013523       +Conn Appliances, Inc.,    c/o Becket and Lee LLP,    PO Box 3002,    Malvern PA 19355-0702
33014066       +Conn Appliances, Inc. d/b/a Conns,    HomePlus as servicer-in-fact and,
                 attorney-in-fact for Conn Credit I, LP,     c/o Becket & Lee LLP,    PO Box 3002,
                 Malvern, PA 19355-0702
32983000       +Conn’s Home Plus,    Attn: Bankruptcy Dept.,    3525 Riverdale Rd,    Memphis, TN 38115-4406
32983001       +First Heritage Credit,    221 S. Main St., Ste 1,    Bolivar, TN 38008-2748
32983002       +Heights Finance,    Attn:Collections,   111 Whitley Ave,    Henderson, TN 38340-2221
32983003       +Mr. Cooper,    Attn: Bankruptcy Dept,   8950 Cypress Waters Blvd,     Coppell, TX 75019-4620
32993823       +Nationstar Mortgage LLC d/b/a Mr. Cooper,     Michael N. Wennerlund,    ALBERTELLI LAW,
                 401 Commerce Street,    Suite 150,   Nashville, TN 37219-2504
33009906        Nissan Motor Acceptance,    POB 660366,   Dallas, TX 75266-0366
32983004       +Nissan Motor Acceptance Corporation,    Attn: Bankruptcy Dept,     P.O. Box 660360,
                 Dallas, TX 75266-0360
32983005        OneMain Financial,    Attn: Bankruptcy Dept,    1049 Union University De.,
                 Jackson, TN 38305-3655
32983006       +Superior Plumbing,    206 S. Water St.,   Bolivar, TN 38008-2723
32983013        West Tennessee Medical Group,    Attn: Bankruptcy Dept,    417 Bridge St.,
                 Danville, VA 24541-1403
32983014       +West Tennessee Medical Group,    620 Skyline Dr,    Jackson, TN 38301-3923

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
32982999        E-mail/Text: BNC-ALLIANCE@QUANTUM3GROUP.COM Mar 15 2019 01:40:01
                 Comenity Bank/Overstock.com,    Attn: Bankruptcy Dept,    PO Box 183043,
                 Columbus, OH 43218-3043
32984028       +E-mail/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com Mar 15 2019 01:49:13
                 PRA Receivables Management, LLC,    PO Box 41021,    Norfolk, VA 23541-1021
32983007        E-mail/PDF: gecsedi@recoverycorp.com Mar 15 2019 01:51:23       Synchrony Bank,
                 Attn: Bankruptcy Dept.,    P.O. Box 965064,    Orlando, FL 32896-5064
32984325       +E-mail/PDF: gecsedi@recoverycorp.com Mar 15 2019 01:50:08       Synchrony Bank,
                 c/o PRA Receivables Management, LLC,     PO Box 41021,   Norfolk, VA 23541-1021
32983008       +E-mail/PDF: gecsedi@recoverycorp.com Mar 15 2019 01:49:02       Synchrony Bank-Walmart,
                 Attn: Bankruptcy Dept.,    PO Box 965024,    Orlando, FL 32896-5024
32983009        E-mail/PDF: gecsedi@recoverycorp.com Mar 15 2019 01:51:23       Synchrony Bank/Evine,
                 PO Box 965064,    Orlando, FL 32896-5064
32983010        E-mail/PDF: gecsedi@recoverycorp.com Mar 15 2019 01:49:03       Synchrony Bank/Tire Pros,
                 Attn: Bankruptcy Dept.,    P.O. Box 965064,    Orlando, FL 32896-5064
32983011        E-mail/PDF: gecsedi@recoverycorp.com Mar 15 2019 01:50:09       Synchrony Bank/Wal-mart,
                 Attn: Bankruptcy,    PO Box 965060,   Orlando, FL 32896-5060
32983012        E-mail/PDF: gecsedi@recoverycorp.com Mar 15 2019 01:50:08       Walmart, c/o Synchrony Bank,
                 Attn: Bankruptcy Dept.,    P.O. Box 965064,    Orlando, FL 32896-5060
                                                                                              TOTAL: 9

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr                Nationstar Mortgage LLC d/b/a Mr. Cooper
r                 Todd Clouser,   Remax Realty Source
cr*              +Conn Appliances, Inc.,   c/o Becket and Lee LLP,   PO Box 3002,                      Malvern, PA 19355-0702
                                                                                                                 TOTALS: 2, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 16, 2019                                             Signature: /s/Joseph Speetjens
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                                      Certificate of Notice Page 6 of 6


District/off: 0651-1          User: valeta                Page 2 of 2                  Date Rcvd: Mar 14, 2019
                              Form ID: pdford02           Total Noticed: 27

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                              CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 14, 2019 at the address(es) listed below:
              Louis W. Ringger   on behalf of Debtor Virginia I. Spencer bankruptcy@ringgerlaw.com,
               r61527@notify.bestcase.com
              Michael Wennerlund    on behalf of Creditor    Nationstar Mortgage LLC d/b/a Mr. Cooper
               mwennerlund@alaw.net, anhsalaw@infoex.com
              Michael N. Wennerlund   bktn@albertellilaw.com
              Michael T. Tabor   lktabor@bellsouth.net, mtabor@ecf.axosfs.com
              PRA Receivables Management, LLC   claims@recoverycorp.com
              R. Bradley Sigler   on behalf of Creditor    Heights Finance bradsigler@hrsrpc.com
              U.S. Trustee   ustpregion08.me.ecf@usdoj.gov
                                                                                             TOTAL: 7
